10/25/2022                                                                                    Judge Teresa H Pearson

9:30 22-30228-thp11                     AAIM CARE, LLC - db                      THEODORE J PITEO
                                        Dr. Stephen Fritz - cr                   SUSAN FORD; GARRETT EGGEN
                                        Chase Bank, NA - cr                      STEVEN LINKON
                                        Amy E Mitchell -tr
                                        US Trustee, Portland -ust                CHRISTIAN TORIMINO;
                                                                                 KATHRYN PERKINS

Continued Hearing on Motion to Dismiss Case. Reason: Debtors request Filed by Debtor AAIM CARE,
LLC (PITEO, THEODORE) Doc# 142

Additional Appearances: Susan Goodman, patient care ombudsman; Dr. Jain; Rajeev Jain

Summary of Proceedings

Parties revisited the debtor's ongoing compliance with the Rule 2004 examination order requiring debtor's
production of documents (ECF No. 125). While counsel for Dr. Fritz believes not all documents have been
produced, they are not pursuing at this time a ruling by the court that the case be converted to Chapter 7, and the
court declines to do so at this point.

Mr. Piteo intends to file an amended plan by the end of today, October 25, 2022, and the court raised a concern
about the original plan that hopefully will be addressed in any amended plan. Once that is filed, the court will
issue an amended Order Fixing Time for Filing Acceptances or Rejections of Plan; and Notice of Confirmation
Hearing, which will include new pre-hearing deadlines.

A hearing will be set for December 5, 2022, at 9:30 a.m. via video to hear the objections by Dr. Fritz to two
claims filed by Chase Bank, NA. Direct testimony will be done by declaration, with cross-examination done
live (via video). Deadline to submit declarations and initial briefs will be November 21, 2022, with reply briefs
due no later than December 1, 2022.

The confirmation hearing will be set for December 7, 8 & 9, 2022, at 9:30 a.m. and will be in-person with the
following exceptions: phone lines can be open for parties who only wish to listen to the proceedings, and should
it prove necessary for Chase Bank, NA, to have an out-of-state fact witness, that witness can testify by video.

Ms. Goodman reported on efforts that Dr. Jain and Mr. Jain had made to comply with the court's last order
regarding Ms. Goodman being able to communicate with office staff.


Order to be prepared by:                Clerk’s Office                   Chambers          Other:

Minute Order:




                              Case 22-30228-thp11            Doc 226       Filed 10/25/22
